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EXHIBIT
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05.15.2022
To whom it may concem,

My name is Albert G'Martinez, and grandfather to Ryan T. Faircloth. His grandmother and t
reside in San Antonio, Tx. E have been in law enforcement for over 35 years. [ have a Masters
Peace Officer Certification. [ write this letter on behalf of my grandson, my sccond eldest
grandson who resides in Austin, Texus. We are a close family and have watched Ryan grow into
a respectable young man. We have seen Ryan make muny good decisions for himself. Ryan
launched a successful busincss and became well-known in the San Antonio area. We have never
known Ryan to act out in the manner for which he stands before you. We feel he was strongly
influenced by the political events that ininspired during the last presidential campaign. [t was a
very emotional time in this country and Ryan expressed his views in a manner not acceptable to
society and certainly not acceptable in our view. People make mistakes and he will endure the
consequences of his actions. Ryan will reflect on his actions and will lear from this. | wnite to
you in hopes this will-help -you know whut we-know of this young man. He hos o-very hopeful
future when this is over. We, the family want him back home with expectations of a fife changed
and hopes of a bright fisture.

We pray for the health and wellbeing of our grandson. Thank you for allowing me to express my
thoughts and feelings on behalf of my grandson Ryan T. Faircloth.

With kind regards,

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